Case 2:04-Cr-20471-BBD Document 86 Filed 08/01/05 Page 1 of 2 Pa e|D 89

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Plaintiff, /

Criminal No. 04-20471 D
v. Criminal No. 04-20464 D

CHARLOTTE SHANELL CRAWFORD,

Defendant.

 

ORDER ALLOWING WITHDRAWAL OF COUNSEL

 

Before the court is the oral motion of Howard Manis, appointed counsel for the
defendant Charlotte Crawford, seeking an order from this court allowing him to withdraw
from the representation of defendant Charlotte Crawford. Counsel states that he is
moving out of town and will no longer be available to represent Crawford.

For good cause shown, Howard Manis be and hereby is allowed to withdraw as
counsel for Crawford. The appointment of Howard Manis is therefore terminated, and

new counsel will be appointed for the defendant from the CJA list of attomeys.

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 2:04-CR-2047l was distributed by faX, mail, or direct printing on

August 4, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

